
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-133-CV



IN RE LAWRENCE ANTHONY COLLIER	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s application for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s application for writ of mandamus is denied.



PER CURIAM





PANEL A: &nbsp;LIVINGSTON, J.; CAYCE, C.J.; and HOLMAN, J.



DELIVERED: &nbsp;April 15, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




